Case 5:18-cr-00084-SMH-MLH Document 43 Filed 06/27/18 Page 1 of 1 PageID #: 112



 MINUTES [0:30]


 UNITED STATES OF AMERICA                       CRIMINAL NO. 5:18-CR-00084


 versus                                         CHIEF JUDGE HICKS


 GREGORY ALAN SMITH (01)                        MAGISTRATE JUDGE HORNSBY
 KIRBYJON H CALDWELL (02)
  


                                  **********************

          A Status Conference was held before Magistrate Judge Hornsby on June 27, 2018.

 Present for the Government was Seth D. Reeg and present for Defendants were Donald E.

 Hathaway, Jr (01), Robert R. Smith by phone (01), Ansel Martin Stroud, III (02), Dan L.

 Cogdell (02) and Karima G. Maloney (02). The court granted Defendants’ oral motion to

 vacate the motion deadline. The Government anticipates over the next thirty days that

 discovery will be complete.

          A follow-up Status Conference will be held on November 1, 2018 at 10:30 a.m. Any

 party may request an earlier date by contacting the court. Due to the volume of discovery

 and Defendants’ need to determine whether they should file any motions, no scheduling

 order will be entered at this time. The court finds that this delay is necessary in the interests

 of justice.

 July 2, 2018
